
Held — The designation of a beneficiary in the applioa*610ticn is not made a part of the policy. The policy is the contract of the parties. Only so much of the application asjjs expressly in the policy made a part of it can be held to be a part. The name of the beneficiary is not so expressly referred to.. The classes of persons to whom insurance is to be paid are named in the policy. Plaintiff *is one of the classes named. See 50 N. J. L., 72. The trial court should admit evidence of the conversations between plaintiff and the agents of the company, and also showing to whom the policy and other papers were delivered by the company’s agent.
Keam &amp; Keam, for Plaintiff in Error.
Robertson &amp; Buchwalter and R. C. Pugh, for the Company.
There is no error in ruling on questions asked plaintiff’s witness, because questions call for conlusicns, and not what was said or done; neither is there any offer made of what is expected to be shown by the answers cf the witness.
The requests to charge involve particular faots which are not controlling, and were properly refused. But the court should have submitted the case to the jury with an appropriate charge, and for instructing the jury to and for defendant, and because the judgment is against the evidence and law, the judgment is reversed and new trial awarded. I’fel
